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EXHIBIT CC
Case 2:08-cv-01021-PSG-RC Document 9-30 Filed 02/19/08 Page 2of2 Page ID #:98

AMERICAN CON £RACTORS INDEMNITY COMPANY

All Papers and notices may be served at BOND NO.

AMERICAN CONTRACTORS INDEMNITY COMPANY

9841 AIRPORT BLVD, 9™ FLOOR. LOS ANGELES, CA 90045 LED

IN THE SUPERIOR COURT OF THE S ATE OF CALIFORNIA Lo

IN AND FOR COUNTY OF Loc 1 0c — S ANGELES SUPERIOR COURT
IN THE MATTER OF FEB 01 2008

The Te hry JOA y . . JOHN A.C KE, CLERK

| ( A y Concer udtonsh Ip of x.

Britney Jean Speqrs
Case Number: EPIOR RAD.

Kf bona upon Qualifying [_] Additional Bond

Premium hep

Per Annum

KNOWN ALL a ni OA 1. allo S:
That we, nary hy Ali.

as Princip rn obo tw Me CONTRACTORS INDEMNITY COMPANY as Surety, are held and firmly bound

oe Nmhed[ Olen AIPee
in the sum of rity Thou Cano t fof; GO = OOo Dollars ($ J % ove

for which payment, well and truly be made, we hind ourselves, our heirs, executors, successors, and assigns Rintly and swell,

firmly by these presents.

THE CONDITION OF THE ABOVE OBLIGATION IS SUCH THAT,

WHEREAS, an order was duly made and entered by the Superior Court of the State of California, for the County of
Lag Angele We on February

CYAppointing the, Above Princip Tem nae Conservator } oF
the estate of bri ina ean Por eat

C] Directing the said Principal to execute an additional bond according to law in the sum above named.

unto

NOW, THEREFORE, if the said Principal shall faithfully execute the duties of the trust according to law, then this obligation

shall be void, otherwise to remain in full fogce an ffect
Signed and dated at hg California on o2-/- of f
= . f
As Principal - Lo As Principal
7

As Principal

AMERICAN CONTRACTORS INDEMNITY COMPANY

IN fonco_L- WHEREOF, The corporate seal and name of said Surety Company is hereto affixed and attested by
| onso Ly idyi , who declares under penalty of perjury that he is duly authorized Attomey-in-Fact

acting ‘under an unrevolWed power of attomey on file with the Clerk of the VLE ove entitled Court is located.

/ fy nso 1 u{ i i Attomey-in-Fact

